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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA

 

NEALAN BHATT, Individually and on Behalf
of All Others Similarly Situated,

Plaintiff.
v.
TECH DATA CORPORATION, ROBERT M.
DUTKOWSKY and CHARLES V.
DANNEWITZ,

Defendants.

 

 

CIVIL ACTION NO.

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CLASS ACTION COMPLAINT FOR
VIOLATION OF THE FEDERAL
SECURITIES LAWS

JURY TRIAL DEMANDED

By and through its undersigned counsel, Plaintiff Nealan Bhatt (“Plaintiff”), alleges the

following against Tech Data Corporation (“Tech Data” or the “Company”) and certain of the

Company’s executive officers and/or directors. Plaintiff makes these allegations upon personal

knowledge as to those allegations concerning Plaintiff and, as to all other matters, upon the

investigation of counsel, which included, without limitation: (a) review and analysis of public

filings made by Tech Data and other related parties and non-parties with the U.S. Securities

and Exchange Commission (“SEC”); (b) review and analysis of press releases and other

publications disseminated by certain of the Defendants and other related non-parties; (c) review

of news articles, shareholder communications, and postings on Tech Data’s website conceming

the Company's public statements; and (d) review of other publicly available information

concerning Tech Data and the Individual Defendants.
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NATURE OF THE ACTION

1. This is a federal securities class against Tech Data and certain officers and/or
directors for violations of the federal securities laws. Plaintiff brings this action on behalf of all
persons or entities that purchased or otherwise acquired the publicly traded shares of Tech Data
common stock between June |, 2017 and August 31, 2017, inclusive (the “Class Period”), seeking
to pursue remedies under the Securities Exchange Act of 1934 (the “Exchange Act”).

JURISDICTION AND VENUE

2. The federal law claims asserted herein arise under and pursuant to Sections 10(b)
and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
thereunder by the SEC (17 C.F.R. § 240.10b-5).

3. This Court has jurisdiction over the subject matter of this action pursuant to
28 U.S.C. § 1331. Section 27 of the Securities Act (15 U.S.C. §78aa).

4, Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of
the Exchange Act (15 U.S.C. §78aa(c)). The Company’s principal executive office is located in
this district.

5. In connection with the acts, transactions, and conduct alleged herein, Defendants
directly and indirectly used the means and instrumentalities of interstate commerce, including but
not limited to the mails, interstate telephone communications, and the facilities of a national
securities exchange.

PARTIES

6. Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, acquired Tech Data common stock at artificially inflated prices during the Class Period,

and suffered damages as a result of the revelation of the alleged corrective disclosure.

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7. Defendant Tech Data is a Florida corporation with its principal executive offices
located at 5350 Tech Data Drive, Clearwater, Florida 33760.

8. Robert M. Dutkowsky (“Dutkowsky”) served as the Company’s Chief Executive
Officer (“CEO”) at all relevant times.

9. Charles V. Dannewitz (“Dannewitz”’) served as the Company's Chief Financial
Officer (“CFO”) and Executive Vice President at all relevant times.

10. Defendants Dutkowsky and Dannewitz are collectively referred to as the
“Individual Defendants.”

11. The Company and the Individual Defendants are collectively referred to herein as
“Defendants.”

12. During the Class Period, the Individual Defendants, as senior executive officers
and/or directors of Tech Data, were privy to confidential, proprietary and material adverse
non-public information concerning Tech Data, its operations, finances, financial condition and
present and future business prospects via access to internal corporate documents, conversations
and connections with other corporate officers and employees, attendance at management and/or
board of directors meetings and committees thereof, and via reports and other information
provided to them in connection therewith. Because of their possession of such information, the
Individual Defendants knew or recklessly disregarded that the adverse facts specified herein had
not been disclosed to, and were being concealed from, the investing public.

13. The Individual Defendants are liable as direct participants in the wrongs
complained of herein. In addition, the Individual Defendants, by reason of their status as senior
executive officers and/or directors, were “controlling persons” within the meaning of §20(a) of the

Exchange Act, and had the power and influence to cause the Company to engage in the unlawful
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conduct complained of herein. Because of their positions of control, the Individual Defendants
were able to and did, directly or indirectly, control the conduct of Tech Data’s business.
SUBSTANTIVE ALLEGATIONS
Company Background

14. Tech Data was incorporated in 1974 and is based in Clearwater, Florida. Tech Data
is a wholesale distributors of technology products. The Company identifies itself as a link in the
technology supply chain by bringing products from technology vendors to market and by providing
its customers with logistic capabilities and services. From 1989 to 2012, Tech Data expanded
through multiple acquisitions of distribution companies in both America and Europe.

15. On February 27. 2017, Tech Data completed the acquisition of the Technology
Solutions business (“TS”) from Avnet, Inc. for an aggregate purchase price of approximately
$2.672 billion (“T'S acquisition”). TS delivers technology services, software, hardware and
solutions across the data center. The TS acquisition aimed at diversifying Tech Data’s end-to-end
solutions, deepening its value added capabilities and balancing its solutions portfolio.

Material Misstatements and Omissions during the Class Period

16. | The Class Period begins on June 1, 2017, when Tech Data issued a press release,
also attached as exhibit 99.1 to the Form 8-K filed with the SEC announcing the Company’s
financial and operating results for the first fiscal quarter ended April 30, 2017 (“June | Press
Release”). The Company made material misrepresentations in the press release, as follows::

Tech Data Corporation Reports First Quarter Fiscal Year 2018 Results

CLEARWATER, Fla.. June 1, 2017 /PRNewswire/ -- Tech Data Corporation

(NASDAQ: TECD) (the "Company") today announced its financial results for the
first quarter ended April 30, 2017.

 

First quarter ended April 30,

 

 
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(S in millions, 2017 2016 Y/Y
except per share amounts) Change
Net Sales $7,664. 1] $5,963.4 29%
Operating income (GAAP) $75.1 $52.6 43%
Opcrating margin (GAAP) 0.98% 0.88% 10 bps
Operating income (Non-GAAP) | $123.2 $57.6 114%
Operating margin (Non-GAAP) | 1.61% 0.97% 64 bps
Net income (GAAP) $30.7 $33.4 -8%
Net income (Non-GAAP) $70.1 $37.0 89%
EPS - diluted (GAAP) $0.82 $0.94 -13%
EPS - diluted (Non-GAAP) $1.87 $1.05 78%

 

A reconciliation of GAAP to non-GAAP financial measures is
presented in the financial tables of this press release.
This information is also available on the Investor Relations
section of Tech Data's website at www.techdata.com/investor.

Financial Highlights for the First Quarter Ended April 30, 2017:

e Net sales were $7.7 billion. an increase of 29 percent compared to the prior-
year quarter. The increase in net sales is primarily due to approximately
$1.6 billion for two months of net sales attributed to the Technology
Solutions business acquired from Avnet, Inc. on February 27, 2017
("Technology Solutions"). Excluding Technology Solutions' net sales, Tech
Data's organic net sales increased approximately 5 percent on a constant

currency basis.

o Americas: Net sales were $3.5 billion (45 percent of worldwide net
sales), an increase of 45 percent compared to the prior-year quarter.
The increase in net sales is primarily due to approximately $1.0
billion of net sales attributed to Technology Solutions. Excluding
Technology Solutions’ net sales in the Americas, organic net sales
increased approximately 5 percent on a constant currency basis.

o Europe: Net sales were $4.0 billion (52 percent of worldwide net
sales). an increase of 12 percent compared to the prior-year quarter.
The increase in net sales is primarily due to approximately $0.5
billion of net sales attributed to Technology Solutions. Excluding
Technology Solutions’ net sales in Europe, organic net sales
increased approximately 5 percent on a constant currency basis.
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o Asia Pacific: Net sales were $0.2 billion (3 percent of worldwide net
sales). Asia Pacific net sales are attributed to the addition of
Technology Solutions.

e Gross profit was $457.1 million, an increase of $158.5 million, or 53 percent
compared to the prior-year quarter. As a percentage of net sales, gross profit
was 5.96 percent compared to 5.01 percent in the prior-year quarter. The
increase in gross profit and gross margin percentage is primarily attributable
to the addition of Technology Solutions.

e Selling, general and administrative expenses ("SG&A") were $352.6
million, or 4.60 percent of net sales, compared to $246.5 million, or 4.13
percent of net sales in the prior-year quarter. Non-GAAP SG&A was $333.9
million, an increase of $92.8 million, or 39 percent, compared to the prior-
year quarter. As a percentage of net sales, non-GAAP SG&A was 4.36
percent, compared to 4.04 percent in the prior-year quarter. The increase in
both dollars and percentage of net sales is primarily attributable to the
addition of Technology Solutions.

e Worldwide operating income was $75.1 million, or 0.98 percent of net sales
compared to $52.6 million or 0.88 percent of net sales in the prior-year
quarter. Non-GAAP operating income was $123.2 million, an increase of
$65.6 million, or 114 percent, compared to the prior-year quarter. As a
percentage of net sales, non-GAAP operating income was 1.61 percent, an
improvement of 64 basis points over the prior-year quarter.

o Americas: Operating income was $50.9 million, or 1.47 percent of
net sales, compared to $31.3 million, or 1.31 percent of net sales in
the prior-year quarter. Non-GAAP operating income was $78.5
million, an increase of $47.1 million, or 150 percent, compared to
the prior-year quarter. As a percentage of net sales, non-GAAP
operating income was 2.26 percent, an improvement of 94 basis
points over the prior-year quarter.

o Europe: Operating income was $24.8 million, or 0.62 percent of net
sales, compared to $24.9 million, or 0.70 percent of net sales in the
prior-year quarter. Non-GAAP operating income was $44.1 million,
an increase of $14.3 million, or 48 percent, compared to the prior-
year quarter. As a percentage of net sales, non-GAAP operating
income was 1.10 percent compared to 0.83 percent in the prior-ycar
quarter.

o Asia Pacific: Operating income was $4.3 million, or 2.28 percent of
net sales. Non-GAAP operating income was $5.2 million. or 2.76
percent of net sales.

o Stock-based compensation expense was $4.9 million, an increase of
$1.3 million, compared to the prior-year quarter. These expenses are
excluded from the regional operating results and presented as a
separate line item in the company's segment reporting (see the
GAAP to non-GAAP reconciliation in the financial tables of this
press release).
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e Net income was $30.7 million, compared to $33.4 million in the prior-year
quarter. Non-GAAP net income was $70.1 million, an increase of $33.0
million, or 89 percent, compared to the prior-year quarter.

e Earnings per share on a diluted basis ("EPS") were $0.82, compared to
$0.94 in the prior year quarter. Non-GAAP EPS was $1.87. an increase of
$0.82. or 78 percent compared to the prior-year quarter.

Net cash generated by operations during the quarter was $224 million.

e Return on invested capital on a non-GAAP basis for the trailing twelve

months was 13 percent, compared to 14 percent in the prior year period.

"We are pleased to report an excellent start to fiscal year 2018. During QI, we
leveraged the breadth of our vendor and customer portfolios and the flexibility of
our business model to deliver solid top-line growth and excellent profitability,” said
Robert M. Dutkowsky, chief executive officer. "Our regional teams executed well
throughout the quarter, capitalized on market opportunities and surpassed their
profitability goals. This enabled Tech Data to exceed our expectations on our key
financial metrics, including sales, non-GAAP operating and net income, and
non-GAAP earnings per share. In addition, we generated strong operating cash
flow and paid down a portion of long-term debt, an important first step in our
commitment to deleverage the company. Tech Data delivered these strong results,
while at the same time making excellent progress on integrating Technology
Solutions - the largest and most transformative acquisition in our company's
history. And our first quarter performance — the first as a combined company - is
a testament to the outstanding execution capabilities of our operations, the skills
and talent of our people, and the strength and diversity of our end-to-end
portfolio of IT solutions."

Business Outlook

e For the quarter ending July 31, 2017, the Company anticipates worldwide
net sales to be in the range of $8.55 billion to $8.80 billion. This guidance
assumes an average U.S. dollar to euro exchange rate of $1.10 to €1.00.

© For the quarter ending July 31, 2017, the Company anticipates non-
GAAP EPS to be in the range of $1.95 to $2.08.

e This guidance assumes stock compensation expense of approximately $7
million and interest expense of approximately $26 million.

e This guidance also assumes weighted average diluted shares outstanding of
38.5 million and an effective tax rate in the range of 31 percent to 33
percent.

Emphasis added.
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17.

The same day, during a conference call to discuss the Company's financial and

operating results for the first fiscal quarter ended April 30, 2017 (“QI 2017 Conf. Call”), Tech

Data’s CEO and Individual Defendant Dutkowsky stated in relevant part:

Thank you, Arleen. Good morning, everyone, and thank you for joining us today.
We are pleased to report an excellent start to fiscal year 2018. During Ql. we
leveraged the breadth of our vendor and customer portfolios and the flexibility of
our business model to deliver solid topline growth and excellent profitability.

Our regional teams executed well throughout the quarter, capitalized on market
opportunities and surpassed their profitability goals. This enabled Tech Data to
exceed our expectations on our key financial metrics, including sales, non-GAAP
operating and net income, and non-GAAP earnings per share.

In addition, we generated strong operating cash flow and paid down a portion of
our long-term debt, an important first step in our commitment to deleverage the
Company. Tech Data delivered these strong results, while at the same time making
excellent progress on integrating Technology Solutions, the largest and most
transformative acquisition in our Company's history.

Since closing the transaction at the end of February, integration teams have been
fully engaged across the Company and have been working diligently to bring our
two companies together. The Company that we are building a winning combination
of exceptional talent, comprehensive solutions and unmatched expertise creates a
unique and truly formidable force in the IT industry.

Emphasis added.

18.

During the same conference call, Tech Data’s CFO and Individual Defendant

Dannewitz emphasized the integration of the TS business and reiterated the second quarter 2017

guidance, stating in relevant part:

As Bob indicated, we are making excellent progress integrating the TS business.
As part of our integration process, we are optimizing our vendor and customer
relationships to ensure we have a strong coverage model with the right skill sets
deployed. These are key steps to successfully combining the businesses, however
they limit our ability to track and report legacy Tech Data and TS results separately.

For QI to provide investors a high-level view into how the legacy Tech Data and
TS businesses each performed in the market, we are providing approximate TS
sales and directional growth rates against the comparable two months stub period.
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However, moving forward as our integration activities accelerate, we will only
provide consolidated worldwide and regional sales and growth rates.

Turning now to QI, Tech Data turned on a strong performance that exceeded our
expectations. On a reported basis worldwide sales were $7.7 billion, up 29% year-
over-year. The increase is primarily due to approximately $1.6 billion or two

months of sales attributed to the TS business. Excluding TS, Tech Data worldwide
sales were up approximately 5% on a constant currency basis.

* * *

Turning now to our guidance for the quarter ending July 31, 2017, we anticipate

sales be in the range of $8.55 billion to $8.8 billion. This guidance assumes an

average U.S. dollar to Euro exchange rate of $1.10 to €1. We anticipate non-GAAP

earning per diluted share to be in the range of $1.95 to $2.08. This guidance
assumes stock compensation expense of approximately $7 million and interest
expense of approximately $26 million. This guidance also assumes $38.5 million
weighted-average diluted shares outstanding and a non-GAAP effective tax rate in
the range of 31% to 33%.
Emphasis added.

19. On June 8, 2017, Tech Data filed a Form 10-Q with the SEC announcing the
Company’s financial and operating results for the first fiscal quarter ended April 30, 2017 (°Q]
2017 10-Q”), which was signed and certified under the Sarbanes Oxley Act of 2002 by the
Individual Defendants. Throughout the QI 2017 10-Q the company reapproved the previous
statements regarding the financial results.

20. The statements in paragraphs 416-18 above were materially false and/or misleading
because they misrepresented and failed to disclose the following adverse facts pertaining to the
Company's business, operations, and prospects, which were known to Defendants or recklessly
disregarded by them. Specifically, Defendants made false and/or misleading statements and/or

failed to disclose that: (1) the Company was experiencing execution and operational issues; (2)

these issues were impacting the Company's financial performance; (3) consequently, the Company
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would not achieve its guidance; and (4) therefore the Company’s financial statements were
materially false and misleading at all relevant times.
The Truth Emerges

21. On August 31, 2017. Tech Data issued a press release, also attached as exhibit 99.1
to the Form 8-K filed with the SEC announcing the Company's financial and operating results for
the second fiscal quarter ended July 31, 2017 (‘August 31 Press Release”). For the quarter, Tech
Data reported non-GAAP carnings per share on a diluted basis of $1.74, far from the previously
announced range of $1.95 to $2.08. The press release stated in pertinent part:

Tech Data Corporation Reports Second Quarter Fiscal Year 2018 Results
Company to Host Investor Day in New York City on Tuesday, October 10, 2017
CLEARWATER, Fla., Aug. 31, 2017 /PRNewswire/ -- Tech Data (NASDAQ:

TECD) (the "Company") today announced its financial results for the second
quarter ended July 31, 2017.

 

Second quarter ended July

 

 

31, Six months ended July 31,
Y/Y VIY
(3 in millions, 2017 2016 Chang | 2017 2016 Chang
except per share amounts) e e
$8,882. $6,353. $16,546 $12,317
Net Sales 7 7 40% 8 1 34%

Operating income (GAAP) | $103.5 = $73.4 41% $178.6 $125.9 42%
Operating margin

 

 

(GAAP) 1.17% 1.15% 2 bps 1.08% 1.02% 6 bps
Operating income (Non-

GAAP) $127.8 $78.1 64% $251.1 $135.7 85%
Operating margin (Non-

GAAP) 1.44% 1.23% 21 bps | 1.52% 1.10% 42 bps
Net income (GAAP) $47.5 $46.4 2% $78.1 $79.8 -2%
Net income (Non-GAAP) _ | $66.7 $50.3 33% $136.8 $87.3 57%
EPS - diluted (GAAP) $1.24 $1.31 -5% $2.06 $2.26 -9%
EPS - diluted (Non-

GAAP) $1.74 $1.42 23% $3.61 $2.47 46%

 

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A reconciliation of GAAP to non-GAAP financial measures is presented in the financial tables
of this press release.

This information is also available on the Investor Relations section of Tech Data's website at
www.techdata.com/investor.

Financial Highlights for the Second Quarter Ended July 31, 2017:

e Net sales were $8.9 billion, an increase of 40 percent compared to the prior-
year quarter. The increase in net sales is primarily duc to the addition of the
Technology Solutions business acquired from Avnet, Inc. on February 27,
2017 ("Technology Solutions"). On a constant currency basis, net sales
increased 41 percent.

o Americas: Net sales were $4.2 billion (47 percent of worldwide net
sales), an increase of 57 percent compared to the prior-year quarter.
The increase in net sales is primarily attributed to the addition of
Technology Solutions.

o Europe: Net sales were $4.4 billion (50 percent of worldwide net
sales), an increase of 20 percent compared to the prior-year quarter.
The increase in net sales is primarily attributed to the addition of
Technology Solutions. On a constant currency basis, net sales
increased 21 percent.

o Asia Pacific: Net sales were $0.3 billion (3 percent of worldwide net
sales). Asia Pacific net sales are attributed to the addition of
Technology Solutions.

e Gross profit was $515.6 million, an increase of $199.1 million, or 63 percent
compared to the prior-year quarter. As a percentage of net sales, gross profit
was 5.80 percent compared to 4.98 percent in the prior-year quarter. The
increase in gross profit and gross margin percentage is primarily attributable
to the addition of Technology Solutions.

e Selling, general and administrative expenses ("SG&A") were $410.6
million, or 4.62 percent of net sales, compared to $243.8 million, or 3.84
percent of net sales in the prior-year quarter. Non-GAAP SG&A was $387.7
million, an increase of $149.4 million, or 63 percent, compared to the prior-
year quarter. As a percentage of net sales, non-GAAP SG&A was 4.37
percent, compared to 3.75 percent in the prior-year quarter. The increase in
both dollars and percentage of net sales, on a GAAP and non-GAAP basis,
is primarily attributable to the addition of Technology Solutions.

e Worldwide operating income was $103.5 million, or 1.17 percent of net

sales compared to $73.4 million or 1.15 percent of net sales in the prior-
year quarter. Non-GAAP operating income was $127.8 million, an increase

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of $49.8 million, or 64 percent, compared to the prior-year quarter. As a
percentage of net sales, non-GAAP operating income was 1.44 percent, an
improvement of 21 basis points over the prior-year quarter.

o Americas: Operating income was $88.0 million, or 2.10 percent of
net sales. compared to $41.2 million, or 1.54 percent of net sales in
the prior-year quarter. Non-GAAP operating income was $84.7
million, an increase of $45.9 million, or 118 percent, compared to
the prior-year quarter. As a percentage of net sales, non-GAAP
operating income was 2.02 percent, an improvement of 57 basis
points over the prior-year quarter.

o Europe: Operating income was $18.5 million, or 0.42 percent of net
sales, compared to $35.9 million, or 0.98 percent of net sales in the
prior-year quarter. Non-GAAP operating income was $43.4 million,
an increase of $0.3 million, or | percent, compared to the prior-year
quarter. As a percentage of net sales, non-GAAP operating income
was 0.99 percent compared to 1.17 percent in the prior-year quarter.

o Asia Pacific: Operating income was $5.1 million, or 1.76 percent of
net sales. Non-GAAP operating income was $6.7 million, or 2.32
percent of net sales.

o Stock-based compensation expense was $8.0 million, an increase of
$4.2 million, compared to the prior-year quarter. This includes $1.0
million of acquisition and integration-related stock compensation
expense. These expenses are excluded from the regional operating
results and presented as a separate line item in the company’s
segment reporting (see the GAAP to non-GAAP reconciliation in
the financial tables of this press release).

e Net income was $47.5 million, compared to $46.4 million in the prior-year
quarter. Non-GAAP net income was $66.7 million, an increase of $16.4
million, or 33 percent. compared to the prior-year quarter.

e Earnings per share on a diluted basis ("EPS") were $1.24, compared to
$1.31 in the prior year quarter. Non-GAAP EPS was $1.74, an increase
of $0.32, or 23 percent compared to the prior-year quarter.

e Net cash generated by operations during the quarter was $146 million.

e Return on invested capital for the trailing twelve months was 10 percent,
compared to 14 percent in the prior year period. The adjusted return on
invested capital for the trailing twelve months was 12 percent. compared to
14 percent in the prior year period.
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"Our fiscal 2018 first-half results clearly show the enhanced earnings and cash-
generating power of the new Tech Data. In Q2, worldwide sales exceeded plan and
our teams maintained disciplined cost controls; Aowever, we did not deliver the
earnings we expected in the quarter," said Robert M. Dutkowsky, chairman and
chief executive officer. "Tech Data is a stronger company today than it was a year
ago. With the addition of Technology Solutions, we now have a richer portfolio of
advanced technology vendors and customers. along with deeper skills to serve
them. At the same time, we continue to accelerate the expansion of our capabilities
in next-generation technologies. Our integration is progressing as planned and we
are on track to deliver our synergy and debt reduction targets."

Business Outlook

e For the quarter ending October 31, 2017, the Company anticipates
worldwide net sales to be in the range of $9.0 billion to $9.35 billion.

e For the quarter ending October 31, 2017. the Company anticipates EPS to
be in the range of $0.80 to $1.00 and non-GAAP EPS to be in the range of
$1.84 to $2.04.

e This guidance assumes weighted average diluted shares outstanding of 38.5
million and an effective tax rate in the range of 30 percent to 32 percent.

e This guidance also assumes an average U.S. dollar to euro exchange rate of
$1.16 to €1.00.

Emphasis added.

22. The same day, during a conference call to discuss the Company’s financial and
operating results for the second fiscal quarter ended July 31, 2017 (“Q2 2017 Conf. Call”), Tech
Data’s CEO and Individual Defendant Dutkowsky disclosed that the Company was experiencing
execution and operational issues, notably pricing issues, rebate issues and issues related to the
integration of the TS business. In relevant part:

And finally, in our component business, a combination of short-term execution

issues and a highly competitive European market contributed to the gross margin

decline. I want to emphasize that our lower than expected Q2 earnings were due to

a combination of execution challenges and market dynamics. To be clear, our
integration activities did not negatively impact future results in a material way.

* * *

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Before I turn the call over to Chuck, I want to be clear some of the challenges we
faced in Q2 were execution related and some were market driven. The execution-
related issues are fixable and short term in nature.

At Tech Data, execution is not only a core competency, it's the bedrock of our
business model. Therefore, these issues have been identified and are being
addressed. The market-related challenges are a combination of increased
competitiveness, particularly in the broad line space; well documented weak
performance by certain vendors; and by industry-wide changes to vendor programs.

Tech Data has dealt with similar market relationship issues before and we know
how to operate successfully in such a dynamic marketplace. History has shown that
our end-to-end portfolio of products, services, and solutions, together with our
flexible business model, enable us to quickly and efficiently respond to the realities
of the market.

23. During the Q&A session, when analyst Matthew Sheerin from Stifel, Nicolaus &
Co., Inc. asked the Company about the component issues, Tech Data’s CEO and Individual
Defendant Dutkowsky admitted that the issues existed but were inadequately anticipated. In
relevant part:

Matthew Sheerin

Okay. And just on the component issue, could you remind us, because I know Avnet

had a sizable business and you had a business. What's the run rate of that business?

And in terms of the specific operational issues, is that IT-driven, is it people-driven?

And what kind of things did you put in place to try to resolve those issues? And

how long do you think that's going to be an overhang?

Charles Dannewitz

Yes. The size of the actual business unit, we don't break out that business unit and

disclose that publicly. It is a nice size business for us, but we just don't give that

kind of information.

Robert Dutkowsky

And Matt its Bob, in terms of the operational issues, the execution issues — that's

one example of where TS had a discrete components business and Tech Data had

a discrete components business spread across multiple countries. And it was one

of the -- as we put the two pieces together, we had very different policies and
practices in place that we needed to justify.

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TS and Tech Data bought products differently, they hedged the value of those
products differently, they priced them differently in the market, and so those
weaknesses impacted our performance in the quarter.

All of those issues are solvable. It's just that they impacted us in this quarter in a

way that was much larger than we anticipated. We're confident that we can solve

those problems and move forward with a nice, profitable components business that

we like everything that we see about the business.

Emphasis added.

24. On release of the news, the Company’s share price fell $22.83 per share, from a
closing price on August 31, 2017 of $110.29 per share to a close of $87.46 per share, a drop of
approximately 20.69%.

CLASS ACTION ALLEGATIONS

25. Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
Procedure 23(a) and (b)(3) on behalf of a class, consisting of all those that purchased or otherwise
acquired the publicly traded shares of Tech Data common stock during the Class Period, and who
were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers and
directors of the Company, at all relevant times. members of their immediate families and their
legal representatives, heirs, successors or assigns and any entity in which Defendants have or had
a controlling interest.

26. The members of the Class are so numerous that joinder of all members is
impracticable. Throughout the Class Period, Tech Data’s securities were actively traded on the
NASDAQ (an open and efficient market) under the symbol “TECD.” While the exact number of
Class members is unknown to Plaintiff at this time and can only be ascertained through appropriate
discovery, Plaintiff believes that there are hundreds or thousands of members in the proposed

Class. As of August 31, 2017, the Company had over 38.1 million shares outstanding. Millions of

Tech Data shares were traded publicly during the Class Period on the NASDAQ. Record owners

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and the other members of the Class may be identified from records maintained by Tech Data or its
transfer agent, and may be notified of the pendency of this action by mail. using the form of notice
similar to that customarily used in securities class actions.

27. Plaintiff's claims are typical of the claims of the other members of the Class as all
members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
federal law that is complained of herein.

28. Plaintiff will fairly and adequately protect the interests of the members of the Class
and has retained counsel competent and experienced in class and securities litigation.

29. Common questions of law and fact exist as to all members of the Class and
predominate over any questions solely affecting individual members of the Class. Among the
questions of law and fact common to the Class are:

(a) whether the federal securities laws were violated by Defendants’ acts as alleged

herein;

(b) | whether Defendants participated in and pursued the common course of conduct

complained of herein;

(c) whether documents, press releases, and other statements disseminated to the

investing public with the Company's shareholders during the Class Period misrepresented

material facts about the business, finances, financial condition and prospects of Tech Data;

(d) — whether statements made by Defendants to the investing public during the Class

Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Tech Data:

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(e) whether the market price of Tech Data common stock during the Class Period was
artificially inflated due to the material misrepresentations and failures to correct the
material misrepresentations complained of herein; and

(f to what extent the members of the Class have sustained damages and the proper

measure of damages.

30. Acclass action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, the expense and burden
of individual litigation makes it impossible for members of the Class to individually redress the
wrongs done to them. There will be no difficulty in the management of this action as a class action.

UNDISCLOSED ADVERSE FACTS

31. | The market for Tech Data common stock was open, well-developed and efficient
at all relevant times. As a result of these materially false and/or misleading statements, and/or
failures to disclose, Tech Data common stock traded at artificially inflated prices during the Class
Period. Plaintiff and the other members of the Class purchased or otherwise acquired Tech Data
common stock relying upon the integrity of the market price of the Company’s securities and
market information relating to Tech Data, and have been damaged thereby.

32. During the Class Period, Defendants materially misled the investing public, thereby
inflating the price of Tech Data’s securities, by publicly issuing false and/or misleading statements
and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth
herein, not false and/or misleading. Said statements and omissions were materially false and/or
misleading in that they failed to disclose material adverse information and/or misrepresented the

truth about Tech Data’s business, operations, and prospects as alleged herein.

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33. — Atall relevant times, the material misrepresentations and omissions particularized
in this Complaint directly or proximately caused or were a substantial contributing cause of the
damages sustained by Plaintiff and the other members of the Class. As described herein, during
the Class Period, Defendants made or caused to be made a series of materially false and/or
misleading statements about Tech Data’s financial well-being and prospects.

34. These material misstatements and/or omissions had the cause and effect of creating
in the market an unrealistically positive assessment of the Company and its financial well-being
and prospects, thus causing the Company’s securities to be overvalued and artificially inflated at
all relevant times. Defendants’ materially false and/or misleading statements during the Class
Period resulted in Plaintiffand the other members of the Class purchasing the Company’s common
stock at artificially inflated prices, thus causing the damages complained of herein.

LOSS CAUSATION

35. During the Class Period, as detailed herein, Defendants engaged in a scheme to
deceive the market and a course of conduct that artificially inflated the prices of Tech Data
common stock and operated as a fraud or deceit on Class Period purchasers of Tech Data common
stock by failing to disclose to investors that the Company’s financial results were materially
misleading and misrepresented material information. When Defendants’ misrepresentations and
fraudulent conduct were disclosed and became apparent to the market, the prices of Tech Data’s
common stock fell precipitously as the prior inflation came out of the Company’s stock price. As
a result of their purchases of Tech Data’s common stock during the Class Period, Plaintiff and the
other Class members suffered economic loss, i.e. damages. under the federal securities law.

36. By failing to disclose the true state of the Company's business prospects and

Operations, investors were not aware of the true state of the Company's financial status. Therefore.

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Defendants presented a misleading picture of Tech Data’s business and prospects. Thus, instead
of truthfully disclosing during the Class Period the true state of the Company's business,
Defendants caused Tech Data to conceal the truth.

37. Defendants’ false and misleading statements caused Tech Data’s common stock to
trade at artificially inflated levels throughout the Class Period. However, as a direct result of the
Company's problems coming to light, Tech Data’s common stock price fell precipitously from its
Class Period high. The stock price drop discussed herein caused real economic loss to investors
who purchased the Company’s securities during the Class Period.

38. The decline in the price of Tech Data’s common stock after the truth came to light
was a direct result of the nature and extent of Defendants’ fraud finally being revealed to investors
and the market. The timing and magnitude of Tech Data’s common stock price decline negates
any inference that the loss suffered by Plaintiff and the other Class members was caused by
changed market conditions, macroeconomic or industry factors or Company-specific facts
unrelated to the Defendants’ fraudulent conduct. The economic loss suffered by Plaintiff and the
other Class members was a direct result of Defendants’ fraudulent scheme to artificially inflate the
prices of Tech Data’s securities and the subsequent decline in the value of Tech Data’s securities
when Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

SCIENTER ALLEGATIONS

39. As alleged herein, Defendants acted with scienter in that they knew that the public
documents and statements issued or disseminated in the name of the Company were materially
false and misleading; knew that such statements or documents would be issued or disseminated to
the investing public; and knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the federal securities laws.

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As set forth elsewhere herein in detail, Defendants. by virtue of their receipt of information
reflecting the true facts regarding Tech Data, their control over, and/or receipt and/or modification
of Tech Data’s allegedly materially misleading statements and/or their associations with the
Company which made them privy to confidential proprietary information concerning Tech Data,
participated in the fraudulent scheme alleged herein.

40. The ongoing fraudulent scheme described herein could not have been perpetrated
over a substantial period of time. as has occurred, without the knowledge and complicity of the

personnel at the highest level of the Company, including the Individual Defendants.

APPLICABILITY OF PRESUMPTION OF RELIANCE (FRAUD-ON-THE-
MARKET DOCTRINE

41. At all relevant times, the market for Tech Data’s common stock was an efficient
market for the following reasons, among others:

(a) Tech Data stock met the requirements for listing, and was listed and actively traded

on the NASDAQ, a highly efficient and automated market;

(b) as a regulated issuer, Tech Data filed periodic public reports with the SEC and/or

the NASDAQ;

(c) Tech Data regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services, and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting

services; and/or

(d) Tech Data was followed by securities analysts employed by brokerage firms who

wrote reports about the Company. and these reports were distributed to the sales force and
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certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

42. Asaresult of the foregoing. the market for Tech Data’s securities promptly digested
current information regarding Tech Data from all publicly available sources and reflected such
information in Tech Data’s stock price. Under these circumstances, all purchasers of Tech Data
common stock during the Class Period suffered similar injury through their purchase of Tech Data
common stock at artificially inflated prices and a presumption of reliance applics.

43. A Class-wide presumption of reliance is also appropriate in this action under the
Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),
because Plaintiff s fraud claims are grounded in Defendants’ omissions of material fact of which
there is a duty to disclose. As this action involves Defendants’ failure to disclose material adverse
information regarding Tech Data’s business practices, financial results and condition and internal
controls-information that Defendants were obligated to disclose during the Class Period but did
not-positive proof of reliance is not a prerequisite to recovery. All that is necessary is that the facts
withheld be material in the sense that a reasonable investor might have considered such
information important in the making of investment decisions.

NO SAFE HARBOR

44. The federal statutory safe harbor provided for forward-looking statements under
certain circumstances does not apply to any of the allegedly false statements pleaded in this
Complaint. The statements alleged to be false and misleading herein all relate to then-existing facts
and conditions. In addition, to the extent certain of the statements alleged to be false may be
characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

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cause actual results to differ materially from those in the purportedly forward-looking statements.

45. Inthe alternative, to the extent that the statutory safe harbor is determined to apply
to any forward-looking statements pleaded herein, Defendants are liable for those false forward-
looking statements because at the time each of those forward-looking statements was made, the
speaker had actual knowledge that the forward-looking statement was materially false or
misleading, and/or the forward-looking statement was authorized or approved by an executive
officer of Tech Data who knew that the statement was false when made.

COUNTI
Violation of Section 10(b) and Rule 10b-5 Against All Defendants

46. Plaintiff repeats and realleges the allegations set forth above as though fully set
forth herein. This claim is asserted against all Defendants.

47, During the Class Period, Tech Data and the Individual Defendants, and each of
them, carried out a plan, scheme and course of conduct which was intended to and, throughout the
Class Period, did: (i) deceive the investing public, including Plaintiff and the other Class members,
as alleged herein; (ii) artificially inflate and maintain the market price of Tech Data common stock;
and (iii) cause Plaintiff and the other members of the Class to acquire or otherwise purchase Tech
Data stock at artificially inflated prices. In furtherance of this unlawful scheme. plan and course
of conduct, Defendants, and each of them, took the actions set forth herein.

48. These Defendants: (a) employed devices, schemes, and artifices to defraud; (b)
made untrue statements of material fact and/or omitted to state material facts necessary to make
the statements not misleading; and (c) engaged in acts, practices, and a course of business that
operated as a fraud and deceit upon the purchasers of the Company’s Securities in an effort to

maintain artificially high market prices for Tech Data securities in violation of Section 10(b) of
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the Exchange Act and Rule 10b-5 promulgated thereunder. All Defendants are sued either as
primary participants in the wrongful and illegal conduct charged herein or as controlling persons
as alleged herein.

49. _ Inaddition to the duties of full disclosure imposed on Defendants as a result of their
making of affirmative statements and reports, or participation in the making of affirmative
statements and reports to the investing public, they each had a duty to promptly disseminate
truthful information that would be material to investors in compliance with the integrated
disclosure provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R. § 210.01 et seq.)
and S-K (17 C.F.R. § 229.10 et seq.) and other SEC regulations, including accurate and truthful
information with respect to the Company’s operations, financial condition and performance so that
the market prices of the Company’s publicly traded securities would be based on truthful, complete
and accurate information.

50. | Tech Data and the Individual Defendants, individually and in concert, directly and
indirectly, by the use of means or instrumentalities of interstate commerce and/or of the mails,
engaged and participated in a continuous course of conduct to conceal adverse material
information about the business, business practices, performance, operations and future prospects
of Tech Data as specified herein. These Defendants employed devices, schemes and artifices to
defraud, while in possession of material adverse non-public information and engaged in acts,
practices, and a course of conduct as alleged herein in an effort to assure investors of Tech Data’s
value and performance and substantial growth, which included the making of, or the participation
in the making of, untrue statements of material facts and omitting to state material facts necessary
in order to make the statements made about Tech Data and its business, operations and future

prospects, in light of the circumstances under which they were made, not misleading, as set forth

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more particularly herein, and engaged in transactions, practices and a course of business which
operated as a fraud and deceit upon the purchasers of Tech Data’s securities during the Class
Period.

51. Each of the Individual Defendants’ primary liability, and controlling person
liability, arises from the following facts: (i) each of the Individual Defendants was a high-level
executive and/or director at the Company during the Class Period; (ii) each of the Individual
Defendants, by virtue of his responsibilities and activities as a senior executive officer and/or
director of the Company, was privy to and participated in the creation, development and reporting
of the Company’s operational and financial projections and/or reports; (iii) the Individual
Defendants enjoyed significant personal contact and familiarity with each other and were advised
of and had access to other members of the Company’s management team, internal reports, and
other data and information about the Company’s financial condition and performance at all
relevant times; and (iv) the Individual Defendants were aware of the Company’s dissemination of
information to the investing public which they knew or recklessly disregarded was materially false
and misleading.

52. These Defendants had actual knowledge of the misrepresentations and omissions
of material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
ascertain and to disclose such facts, even though such facts were readily available to them. Such
Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and
for the purpose and effect of concealing Tech Data’s operating condition, business practices and
future business prospects from the investing public and supporting the artificially inflated price of
its stock. As demonstrated by their overstatements and misstatements of the Company’s financial!

condition and performance throughout the Class Period. the Individual Defendants, if they did not
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have actual knowledge of the misrepresentations and omissions alleged, were severely reckless in
failing to obtain such knowledge by deliberately refraining from taking those steps necessary to
discover whether those statements were false or misleading.

53. Asaresult of the dissemination of the materially false and misleading information
and failure to disclose material facts, as set forth above, the market price of Tech Data’s common
stock was artificially inflated during the Class Period. In ignorance of the fact that market prices
of Tech Data’s publicly-traded securities were artificially inflated, and relying directly or indirectly
on the false and misleading statements made by Defendants, or upon the integrity of the market in
which the Securities trades, and/or on the absence of material adverse information that was known
to or recklessly disregarded by Defendants but not disclosed in public statements by Defendants
during the Class Period, Plaintiff and the other members of the Class acquired Tech Data’s
Securities during the Class Period at artificially high prices and were or will be damaged thereby.

54. At the time of said misrepresentations and omissions, Plaintiff and other members
of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other
members of the Class and the marketplace known the truth regarding Tech Data’s financial results,
which was not disclosed by Defendants, Plaintiff and other members of the Class would not have
purchased or otherwise acquired their Tech Data securities. or, if they had acquired such securities
during the Class Period, they would not have done so at the artificially inflated prices that they
paid.

55. By virtue of the foregoing, Defendants have violated Section 10(b) of the Exchange

Act, and Rule 10b-5 promulgated thereunder.

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56. | Asadirect and proximate result of Defendants’ wrongful conduct, Plaintiff and the
other members of the Class suffered damages in connection with their respective purchases and
sales of the Company's Securities during the Class Period.

COUNT II
The Individual Defendants Violated Section 20(a) of the Exchange Act

57. Plaintiff repeats and realleges each and every allegation contained above as if fully
set forth herein.

58. The Individual Defendants acted as controlling persons of Tech Data within the
meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level
positions, agency, ownership and contractual rights, and participation in and/or awareness of the
Company’s operations and/or intimate knowledge of the false financial statements filed by the
Company with the SEC and disseminated to the investing public. the Individual Defendants had
the power to influence and contro]. and did influence and control, directly or indirectly, the
decision-making of the Company, including the content and dissemination of the various
statements that Plaintiff contends are false and misleading. The Individual Defendants provided
with or had unlimited access to copies of the Company’s reports, press releases, public filings and
other statements alleged by Plaintiff to have been misleading prior to and/or shortly after these
statements were issued and had the ability to prevent the issuance of the statements or to cause the
statements to be corrected.

59. In addition, each of the Individual Defendants had direct involvement in the day-
to-day operations of the Company and. therefore, is presumed to have had the power to control or
influence the particular transactions giving rise to the securities violations as alleged herein, and

exercised the same.
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60. As set forth above, Tech Data and the Individual Defendants each violated §10(b)
and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their
controlling positions, the Individual Defendants are liable pursuant to §20(a) of the Exchange Act.
As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff and the other
members of the Class suffered damages in conncction with their purchases of the Company’s
securities during the Class Period.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment as follows:

(a) Declaring this action to be a class action pursuant to Rule 23(a) and (b)(3)
of the Federal Rules of Civil Procedure on behalf of the Class defined
herein;

(b) Awarding Plaintiff and the other members of the Class damages in an
amount which may be proven at trial, together with interest thereon;

(c) Awarding Plaintiff and the other members of the Class pre-judgment and
post-judgment interest, as well as their reasonable attorneys’ and experts’
witness fees and other costs; and;

(d) | Awarding such other and further relief as the Court deems appropriate.

JURY TRIAL DEMANDED
Plaintiff demands a trial by jury.
Dated: September 20, 2017 Cullin O’Brien Law, P.A.
/s/ Cullin O’Brien
Cullin O’Brien
6541 NE 21st Way
Ft. Lauderdale, Florida 33308

Tel: (561) 676-6370
Fax: (561) 320-0285

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Email: cullin@cullinobrienlaw.com

Liaison Counsel

LEVI & KORSINSKY, LLP (Trial Counsel)
Eduard Korsinsky

30 Broad St., 24" Floor

New York, NY 10004

Tel: (212) 363-7500

Fax: (212) 363-7171

(Pro hae vice applications forthcoming)

Counsel for Plaintiff and Proposed Lead Counsel
for the Class
